Case 18-68479-pmb        Doc 48    Filed 05/07/19 Entered 05/07/19 13:50:56   Desc Main
                                  Document      Page 1 of 19




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION



      IN RE:                                )             CASE NO. 18-68479-PMB
                                            )
      JAMES EDWARD CARTER, IV               )             CHAPTER 11
                                            )
               Debtor.                      )

====================================================================




                                      CHAPTER 11
                                    AMENDED PLAN OF
                                    REORGANIZATION
                                         FOR

                                  James Edward Carter, IV


                              Dated this 3th day of May, 2019




                                           Filed by:

                  James Edward Carter, IV - Debtor and Debtor in Possession

                         Attorneys for Debtor and Debtor in Possession,
                                    Howard P. Slomka, Esq.

                                   Slipakoff and Slomka, P.C.
                               2859 Paces Ferry Rd. SE. Suite 170.
                                    Atlanta, Georgia 30339
Case 18-68479-pmb        Doc 48     Filed 05/07/19 Entered 05/07/19 13:50:56            Desc Main
                                   Document      Page 2 of 19
        COMES NOW, James Edward Carter, IV, debtor and debtor in possession in the above-
captioned case (the “Debtor”), and, pursuant to sections 1121 and 1123 of title 11 of the United
States Code (the “Bankruptcy Code”) and Rule 3016 of the Federal Rules of Bankruptcy
Procedure (the “Bankruptcy Rules”), proposes this Plan (the “Plan”) for the resolution of the
Claims against the Debtor. The Debtor is the proponent of this Plan within the meaning of
section 1129 of the Bankruptcy Code.

                                             Article 1
                                           Introduction

       1.1     Disclosure Statement. Contemporaneously with the filing of the Plan, Debtor
filed and served it First Amended Disclosure Statement (the “Disclosure Statement”), as
required by section 1125 of the Bankruptcy Code. The Disclosure Statement contains the
Debtor’s history, financial information regarding Debtor and its assets, and a solicitation of
acceptances of this Plan.

       1.2      Property and Claims. This Plan deals with all property of Debtor and provides for
treatment of all Claims against Debtor and its property.

                                            Article 2
                               Definitions and General Provisions

        For the purposes of this Plan, except as otherwise expressly provided or unless the
context otherwise requires, all capitalized terms not otherwise defined shall have the meanings
ascribed to them in Article 2.1 of this Plan. Any term that is not defined herein, but is defined in
the Bankruptcy Code or the Bankruptcy Rules, shall have the meaning ascribed to that term
therein.

       2.1     The following terms, when used in this Plan, shall have the following meaning:

               2.1.1 “Administrative Claim” means a Claim for payment of an administrative
expense entitled to priority under section 507(a)(2) of the Bankruptcy Code.

              2.1.2 “Allowed Claim” shall mean a Claim or any portion thereof that is
enforceable against Debtor or enforceable against the property of Debtor under sections 502 or
503 of the Bankruptcy Code.

               2.1.3 “Allowed Secured Claim” shall mean the amount of the allowed Claim
held by parties secured by property of Debtor which is equal to the amount stipulated as
constituting the allowed secured claim between the parties, or such amount as the Bankruptcy
Court allows.

             2.1.4 “Allowed Unsecured Claim” shall mean Allowed Claims which are not
allowed administrative, priority, or secured claims.

                2.1.5 “Assets” means, collectively, all of the property, as defined by section 541
of the Bankruptcy Code, of the Estate of the Debtor (including without limitation, all of the
assets, property, interests (including equity interests) and effects, real and personal, tangible and
intangible, including all Avoidance Actions), wherever situated as such properties exist on the
Effective Date or thereafter.
                                                30
Case 18-68479-pmb       Doc 48     Filed 05/07/19 Entered 05/07/19 13:50:56           Desc Main
                                  Document      Page 3 of 19

                2.1.6 “Avoidance Action” means any claim or cause of action of the Estate
arising out of or maintainable pursuant to sections 502, 510, 541, 542, 543, 544, 545, 547, 548,
549, 550, 551 or 553 of the Bankruptcy Code or any other similar applicable law, regardless of
whether such action has been commenced prior to the Effective Date.

               2.1.7 “Ballot” means each of the ballot forms that are distributed with the
Disclosure Statement to Holders of Claims included in the Classes that are Impaired under this
Plan and are entitled to vote.

                2.1.8 “Bankruptcy Case” means the chapter 11 case initiated by the Debtor’s
filing on the Filing Date of a voluntary petition for relief in the Bankruptcy Court under Chapter
11 of the Bankruptcy Code.

              2.1.9   “Bankruptcy Code” means title 11 of the United States Code.

               2.1.10 “Bankruptcy Court” means the United States Bankruptcy Court for the
Northern District of Georgia, Atlanta Division.

              2.1.11 “Bankruptcy Rules” means, collectively, the Federal Rules of Bankruptcy
Procedure.

               2.1.12 “Business Day” means any day on which the commercial banks are
required to be open for business in Atlanta, Georgia.

               2.1.13 “Cash” means legal tender of the United States of America and
equivalents thereof.

                2.1.14 “Causes of Action” means all Avoidance Actions and any and all of
Debtor’s actions, suits, accounts, agreements, promises, rights to payment and claims, whether
known or unknown, reduced to judgment, not reduced to judgment, liquidated, unliquidated,
fixed, contingent, matured, unmatured, disputed, undisputed, secured, unsecured, and whether
asserted or assertable directly or derivatively, in law, equity, or otherwise.

              2.1.15 “Chapter 11” means chapter 11 of the Bankruptcy Code.

               2.1.16 “Claim” means a claim against Debtor whether or not asserted, as defined
in section 101(5) of the Bankruptcy Code.

              2.1.17 “Class” means a category of Claims described in this Plan.

               2.1.18 “Confirmation Date” means the date on which the Bankruptcy Court
enters the Confirmation Order.

              2.1.19 “Confirmation Hearing” means the hearing before the Bankruptcy Court
held to consider confirmation of this Plan and related matters under section 1128 of the
Bankruptcy Code, as such hearing may be continued.

               2.1.20 “Confirmation Order” means the order confirming this Plan pursuant to
section 1129 of the Bankruptcy Code that the Bankruptcy Court enters, which shall be in all
respects reasonably acceptable to the Debtor.
                                              30
Case 18-68479-pmb        Doc 48    Filed 05/07/19 Entered 05/07/19 13:50:56            Desc Main
                                  Document      Page 4 of 19
               2.1.21 “Debtor” shall mean James Edward Carter, IV the debtor in this
Bankruptcy.

               2.1.22 “Disallowed Claim” means a Claim or any portion thereof that: (i) has
been disallowed by a Final Order, (ii) is listed in any of Debtor’s Schedules at zero, unknown,
contingent, disputed, or unliquidated and as to which a proof of claim bar date has been
established but no proof of claim has been timely filed or deemed timely filed with the
Bankruptcy Court, or (iii) is not listed in Debtor’s Schedules and as to which a proof of claim bar
date has been established but no proof of claim has been timely filed or deemed timely filed with
the Bankruptcy Court.

              2.1.23 “Disclosure Statement” means the Disclosure Statement for Plan filed by
Debtor as approved by the Bankruptcy Court pursuant to section 1125 of the Bankruptcy Code
and Bankruptcy Rule 3017, as such Disclosure Statement may be amended, modified or
supplemented from time to time.

               2.1.24 “Disputed Claim” means, with reference to any Claim, a Claim or any
portion thereof, that is the subject of an objection timely filed in the Bankruptcy Court and which
objection has not been withdrawn, settled or overruled by a Final Order of the Bankruptcy Court.

               2.1.25 “Distribution” means any distribution by Debtor or reorganized Debtor to
a Holder of an Allowed Claim.

               2.1.26 “District Court” means the United States District Court for the Northern
District of Georgia, Atlanta Division.

              2.1.27 “Effective Date” means the date that is sixty (60) days after entry of a final
non-appealable Confirmation Order.

               2.1.28 “Equipment” means the machinery, fixtures, equipment, and other
supplies used by Debtor in the operation of business.

               2.1.29 “Estate” means, with regard to Debtor, the estate that was created by the
commencement by Debtor of the Bankruptcy Case pursuant to section 541 of the Bankruptcy
Code, and shall be deemed to include, without limitation, any and all rights, powers, and
privileges of such Debtor and any and all interests in property, whether real, personal or mixed,
rights, causes of action, avoidance powers or extensions of time that such Debtor or such estate
shall have had as of the commencement of the Bankruptcy Case, or which such Estate acquired
after the commencement of the Bankruptcy Case, whether by virtue of sections 541, 544, 545,
546, 547, 548, 549 or 550 of the Bankruptcy Code, or otherwise.

              2.1.30 “Executory Contract or Unexpired Lease” means all executory contracts
and unexpired leases to which Debtor is a parties.

               2.1.31 “Filing Date” means November 2, 2018.

               2.1.32 “Final Distribution” means the Distribution by Debtor or reorganized
Debtor that satisfies all Allowed Claims to the extent provided in accordance with the Plan.

               2.1.33 “Final Distribution Date” means the Distribution Date on which the Final
                                               30
Case 18-68479-pmb        Doc 48    Filed 05/07/19 Entered 05/07/19 13:50:56            Desc Main
                                  Document      Page 5 of 19
Distribution is made.

               2.1.34 “Final Order” means an order of the Bankruptcy Court, the District Court,
or any other court as to which (i) any appeal that has been taken has been finally determined or
dismissed, or (ii) the time for appeal has expired and no appeal has been filed timely. In the case
of an order of the Bankruptcy Court, the time for appeal, for purposes of this definition, shall be
the time permitted for an appeal to the District Court.

               2.1.35 “Holder” means a holder of a Claim or Interest, as applicable.

             2.1.36 “Impaired” shall have the meaning ascribed thereto in section 1124 of the
Bankruptcy Code.

               2.1.37 “Interests” means the equity interests in Debtor.

               2.1.38 “Lien” has the meaning set forth in section 101(37) of the Bankruptcy
       Code.
               2.1.39 “Person” means an individual, corporation, partnership, joint venture,
association, joint stock company, limited liability company, limited liability partnership, trust,
estate, unincorporated organization, governmental unit (as defined in section 101(27) of the
Bankruptcy Code) or other entity.

              2.1.40 “Plan” means this plan as the same may hereafter be corrected, amended,
supplemented, restated, or modified.
               2.1.41 “Priority Claim” means a Claim entitled to priority under the provisions of
section 507(a) of the Bankruptcy Code other than an Administrative Expense Claim or a Priority
Tax Claim.

                2.1.42 “Priority Tax Claim” means a Claim against the Debtor that is of a kind
specified in sections 507(a)(8) of the Bankruptcy Code.

               2.1.43 “Professional Compensation” means (1) any amounts that the Bankruptcy
Court allows pursuant to section 330 of the Bankruptcy Code as compensation earned, and
reimbursement of expenses incurred, by professionals employed by the Debtor and the unsecured
creditors’ committee, if any, and (ii) any amounts the Bankruptcy Court allows pursuant to
sections 503(b)(3) and (4) of the Bankruptcy Code in connection with the making of a substantial
contribution to the Bankruptcy Case.

               2.1.44 “Record Date” means the date established in the Confirmation Order or
any other Final Order of the Bankruptcy Court for determining the identity of holders of Allowed
Claims entitled to Distributions under this Plan. If no Record Date is established in the
Confirmation Order or any other order of the Bankruptcy Court, then the Record Date shall be
the Confirmation Date.

               2.1.45 “Record Holder” means the Holder of a Claim as of the Record Date.

               2.1.46 “Released Parties” means collectively Debtor and Reorganized Debtor.

               2.1.47 “Retained Action” means all claims, Causes of Action, rights of action,
suits and proceedings, whether in law or in equity, whether known or unknown, which Debtor or
                                               30
Case 18-68479-pmb        Doc 48    Filed 05/07/19 Entered 05/07/19 13:50:56 Desc Main
                                  Document       Page 6 of 19
Debtor’s Estate may hold against any Person, including, without limitation, (i) claims and Causes
of Action brought prior to the Effective Date, (ii) claims and Causes of Action against any
Persons for failure to pay for products or services provided or rendered by Debtor, (iii) claims
and Causes of Action relating to strict enforcement of the Debtor’s intellectual property rights,
including patents, copyrights and trademarks, (iv) claims and Causes of Action seeking the
recovery of the Debtor’s accounts receivable or other receivables or rights to payment created or
arising in the ordinary course of the Debtor’s business, including without limitation, claim
overpayments and tax refunds, and (v) all Causes of Action that are Avoidance Actions.

              2.1.48 “Schedules” means the Schedules of Assets and Liabilities Debtor filed in
the Bankruptcy Case, as such Schedules may be amended from time to time in accordance with
Bankruptcy Rule 1009.

               2.1.49 “Secured Claim” means a Claim against Debtor to the extent secured by a
Lien on any property of Debtor on the Petition Date to the extent of the value of said property as
provided in section 506(a) of the Bankruptcy Code.

                2.1.50 “Subordinated Claim” means any Unsecured Claim that is subordinated in
priority to all other Allowed Unsecured Claims pursuant to the provisions of section 510 of the
Bankruptcy Code or other applicable law.

                2.1.51 “Unimpaired” means, with respect to a Class of Claims or Interests, any
Class that is not Impaired.

               2.1.52 “Unsecured Claim” means any Claim against Debtor that is not a Secured
Claim, a Priority Claim, a Priority Tax Claim, or an Administrative Expense Claim.

        2.2     Time. Whenever the time for the occurrence or happening of an event as set forth
in this Plan falls on a day which is a Saturday, Sunday, or legal holiday under the laws of the
United States of America or the State of Georgia, then the time for the next occurrence or
happening of said event shall be extended to the next day following which is not a Saturday,
Sunday, or legal holiday.

        2.3    Events of Default. In the event of a default by Debtor in payments under the Plan
or otherwise, the Holder of such Claim must send written notice to Debtor at the addresses of
record for Debtor as reflected on the docket for this Bankruptcy Case, unless such Holder has
received written notice of a change of address for Debtor, as applicable. The Holder of such
Claim must send such Notice via certified mail with a courtesy copy via email and regular mail
to Howard P. Slomka, Esq. at the address reflected in the then current directory of the State of
Bar of Georgia. Debtor shall have ten (10) days from the Debtor’s receipt of the notice of default
to cure such default. Receipt by the Debtor’s Attorney is for courtesy notice only and shall not be
deemed receipt by the Debtor of the required Notice.

                                            Article 3
                      Classification of Claims and Interests; Impairment

        3.1     Summary. The categories of Claims and Interests set forth below classify all
Claims against the Debtor for all purposes of this Plan. A Claim or Interest shall be deemed
classified in a particular Class only to the extent the Claim or Interest qualifies within the
description of that Class and shall be deemed classified in a different Class to the extent that any
remainder of such Claim or Interest qualifies within the description of such different Class. The
                                               30
 Case 18-68479-pmb          Doc 48     Filed 05/07/19 Entered 05/07/19 13:50:56 Desc Main
                                      Document       Page 7 of 19
  treatment with respect to each Class of Claims and Interests provided for in Article 4 shall be in
  full and complete satisfaction, release and discharge of such Claims and Interests.

        3.2 Class 1 shall consist of the priority claims of IRS and Georgia Department of
  Revenue (“GDOR”)
        3.3 Class 2 shall consist of the secured claim of GDOR.
        3.4 Class 3 shall consist of the pre-petition mortgage arrearage claim of Wells Fargo.
        3.5 Class 4 shall consist of the general unsecured class of claims.


                                              Article 4
                                  Treatment of Claims and Interests

          A brief summary of the Classes, the treatment of each Class, and the voting rights of each
  Class is set forth below.

         Nothing herein shall constitute an admission as to the nature, validity, or amount of
  claim. Debtor reserves the right to object to any and all claims.

         Debtor reserves the right to prepay any claim in full at any time in accordance with the
  terms of the Plan (i.e. at the percentage distribution designated in the Plan) without prepayment
  penalty.



  4.1 Class 1: Priority Claims by the IRS and Georgia Department of Revenue. IMPAIRED


       Class 1 consists of the priority claims of IRS and GDOR. At the time of filing this Disclosure
Statement, GADOR is due $35,358.61 based upon the figures in POC 1, and IRS is due $132,092.96
based upon POC 2.

        Debtor’s Plan will require Debtor to pay the Class 1 Claims in full within 60 months of the
Effective Date, with interest at the currently applicable statutory rate in accordance with 11 USC
1129(a)(9), currently at 6.0%. Monthly payments will be $ 2,553.73 (to IRS) and $683.58 (to
GDOR) .

       In the event the Debtor defaults on payments as required under the Plan, the Internal Revenue
Service will send a default letter to the Debtor with a copy to the Debtor's attorney. The default must
be cured within then (10) days of the date of the letter. In the event the default is not cured within (10)
days the Internal Revenue Service will have the right to pursue enforcement actions.

        Any administrative claim of the Internal Revenue Service will be due and payable thirty days
after confirmation or determination of any objection to the claim.

        The Debtor is required to timely file returns for and timely pay all post-petition, personal
business and employment taxes. Proof of federal tax deposits must be sent to the Internal Revenue
Service, Summit Building, West Peachtree Street, Stop 334D, Attn: Breia Sharber-Bali, Atlanta,
Georgia 30308-3539. Failure to timely file returns or timely pay taxes as they become due shall
constitute as a default of the Chapter 11 Plan.

                                                    30
 Case 18-68479-pmb         Doc 48     Filed 05/07/19 Entered 05/07/19 13:50:56               Desc Main
                                     Document      Page 8 of 19

  4.2 Class 2: Secured Claim of Georgia Department of Revenue. IMPAIRED

   Class 2 consists of the Secured Claims of GDOR. Debtor’s Plan will require this amount to be
   paid in full, within 60 months after the Effective Date, with interest accruing at 6.0%. Monthly
   payments will be $ 126.05.



   4.3       Class 3: Pre-Petition Mortgage Arrearage: Secured Claim of Wells Fargo / SPS
Loan Servicing. IMPAIRED

    Class 3 consists of the Secured Claim of Wells Fargo for pre-petition mortgage arrearage under
the residential mortgage. These payments equal $ 1,500.00 per month and will be paid monthly by
the Debtor until the Property is sold, refinanced within 12 months, or the stay is lifted.

    The Claim of the Class 3 Creditor is Impaired by the Plan and the holder of the Class 3 Claim is
entitled to vote. Debtor reserves the right to object to any and all claims.

    * Debtor shall sell or refinance the residence within 12 months after the confirmation of the Plan
(the “Sale Date”). Class 3 Creditor Specialized Loan Servicing, LLC shall have the right to foreclose
on the property, and the automatic stay pursuant to 11 USC 362 shall be lifted without further order of
the Court, in the event that any of the following events occur:

   (i) Debtor defaults in his monthly payments under the mortgage and such default is not cured in
   full within 30 days; or
   (ii) Debtor defaults in his obligation to make the $1,500.00 monthly payments to Class 3 creditor
   under this section, and such default is not cured in full within 30 days; or
   (iii) Debtor has not sold or refinanced the property and paid off the creditor in full or or before the
   Sale Date.

       4.4     Class 4: General Unsecured Creditors. 5% Payout ($28,000.00) IMPAIRED

        Class 4 Claims shall consist of all amounts due and owing by Debtor on unsecured debts
including contracts, notes or accounts. Debtor shall pay Holders of Allowed Unsecured Claims their
pro-rata share of Debtor’s disposable income for the 60 months following the Effective Date of the
Plan, in an aggregate amount of not less than $467.00 per month, or $1,400 per quarter.

       Debtor proposes to pay 5% to Class 4 in payments not less frequently than once per quarter.
Debtor will mail each creditor its pro rata share of the quarterly payment.

       A list of potential Class 4 Claimants and their estimated distribution are set forth below.

     POC #     Creditor                       Claim                          Annual Payout
      8 DAVIS                                  $ 101,706.56                   $ 406.83
         PORTFOLIO                                    500.00                  $    2.00
      5 AMEX                                       7,880.10                   $ 31.52
      4 AMEX                                   $ 27,419.24                    $ 109.68
      3 AMEX                                   $ 45,948.13                    $ 183.79
      6 AMEX                                       26,890.92                  $ 107.56
     10 ATT                                    $       797.88                 $ 3.19
                                                   30
 Case 18-68479-pmb           Doc 48    Filed 05/07/19 Entered 05/07/19 13:50:56             Desc Main
                                      Document      Page 9 of 19
      9 BOFA                                   $    31,616.58                $ 126.47
      7 KING YAKLIN                                14,870.49                 $ 59.48
        Chase                                      210,025.00                $ 840.10
      1 GA Dept REV                                  9,995.62                $ 39.98
      2 IRS                                        36,017.34                 $ 144.07
        Capital One                                  525.00                       2.10
        FranklinCollection                             131.00                     0.52
        First Data                                    524.00                 2.10




        Nothing herein, including the list of estimated distributions, shall constitute an admission as to
the nature, validity, or amount of claim or waive any requirement for such holder to take further
action to assert such claim including any necessity to obtain a deficiency judgment against Debtor or
any third party under state law. Debtor reserves the right to object to any and all claims.

        Distributions to unsecured creditors in Class 4 shall be paid directly by Debtor, on the first day
of any fiscal quarter, except for amounts less than $50.00, which maybe paid semi-annually on
January 1 and July 1 each year. As a convenience, any unsecured creditors (other than insiders) who
are due less than $100.00 under this Plan, may be paid 5% of their claim at anytime by Debtor, who
shall then owe them nothing further under this Plan.

                                             Article 5
                                  Treatment of Unclassified Claims

         5.1     Pursuant to section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
  Claims against Debtor are not classified for purposes of voting on or receiving Distributions
  under this Plan. Holders of such Claims are not entitled to vote on this Plan. All such Claims are
  instead treated separately in accordance with this Article 5 and in accordance with the
  requirements set forth in section 1129(a)(9)(A) of the Bankruptcy Code.

          With respect to potential Administrative Expense Claims, Debtor, pursuant to Court
  order, retained Slipakoff & Slomka, P.C. (“Firm”) to serve as bankruptcy counsel. As set forth
  in the employment application and supporting documents, the Firm received a prepetition retainer
  in the amount of $15,000.00 and as of the date hereof, the fees and expenses incurred by the Firm
  have not yet been approved or paid. Debtor shall pay the Firm the outstanding fees as approved
  by the Court on the Effective Date, unless otherwise agreed by Law Firm, and post confirmation
  fees pursuant to invoices from the Firm. Debtor is paying post-petition bills and does not expect
  any claims for unpaid post-petition goods and services other than professional fees. Debtor will
  incur quarterly trustee fees which Debtor shall pay when due until such time as a final order is
  entered closing the Case.

          5.2     Administrative Expense Claims.

                5.2.1 Subject to the provisions of sections 328, 330(a) and 331 of the
  Bankruptcy Code, each Holder of an Allowed Administrative Expense Claim will be paid the
  full unpaid amount of such Allowed Administrative Expense Claim in Cash on the latest of (i)
  the Effective Date, (ii) as soon as practicable after the date on which such Claim becomes an
  Allowed Administrative Expense Claim, (iii) upon such other terms as may be agreed upon by

                                                   30
Case 18-68479-pmb        Doc 48    Filed 05/07/19 Entered 05/07/19 13:50:56 Desc Main
                                  Document       Page 10 of 19
such Holder and Debtor, or (iv) as otherwise ordered by the Bankruptcy Court; provided,
however, that Allowed Administrative Expense Claims representing obligations incurred by
Debtor in the ordinary course of business, or otherwise assumed by Debtor on the Effective Date
pursuant to this Plan, including any tax obligations arising after the Filing Date, will be paid or
performed by Debtor when due in accordance with the terms and conditions of the particular
agreements or non-bankruptcy law governing such obligations.

               5.2.2 Except as otherwise provided in this Plan, any Person holding an
Administrative Expense Claim, other than an Administrative Expense Claim arising from post-
petition operations by Debtor in the ordinary course of business, shall file a proof of such
Administrative Expense Claim with the Bankruptcy Court within thirty (30) days after the entry
of the Confirmation Order. At the same time any Person files an Administrative Expense Claim,
such Person shall also serve a copy of the Administrative Expense Claim upon counsel for
Debtor. Any Person who fails to timely file and serve a proof of such Administrative Expense
Claim shall be forever barred from seeking payment of such Administrative Expense Claims by
Debtor or the Estate.

               5.2.3 Any Person seeking an award by the Bankruptcy Court of Professional
Compensation shall file a final application with the Bankruptcy Court for allowance of
Professional Compensation for services rendered and reimbursement of expenses incurred
through the Effective Date within the time set by the Bankruptcy Court.

       Debtor’s attorney fees during the pendency of the case shall be paid as the same may be
approved by the Bankruptcy Court. Debtor may pay professional fees incurred after
confirmation of this Plan without Court approval. Debtor shall pay all pre-confirmation fees of
professionals as payment of the same is approved by the Court. The Debtor estimates that
professional administrative expenses will be approximately $20,000.00 above the initial retainer.

                                          Article 6
                          Means for the Implementation of the Plan

        6.1    Parties Responsible for Implementation of the Plan Upon confirmation, Debtor
will be charged with administration of the Case. Debtor will be authorized and empowered to
take such actions as are required to effectuate the Plan, including the prosecution and
enforcement of Causes of Action. Debtor will file all post-confirmation reports required by the
United States Trustee’s office. Debtor will also file the necessary final reports and will apply for
a final decree as soon as practicable after substantial consummation and the completion of the
claims analysis and objection process.

       6.2     Sources of Cash for Distribution. Debtor shall satisfy the claims from the income
Debtor receives from his practice as a general dentist.

       The Plan provides that Debtor shall act as the Disbursing Agent to make payments under
the Plan unless Debtor appoint some other entity to do so. Debtor may maintain bank accounts
under the confirmed Plan in the ordinary course of business. Debtor may also pay ordinary and
necessary expenses of administration of the Plan in due course.

       6.3    Preservation of Causes of Action. In accordance with section 1123(b)(3) of the
Bankruptcy Code, Debtor will retain and may (but is not required to) enforce all Retained
Actions. After the Effective Date, Debtor, in its sole and absolute discretion, shall have the right

                                                30
Case 18-68479-pmb        Doc 48      Filed 05/07/19 Entered 05/07/19 13:50:56 Desc Main
                                   Document         Page 11 of 19
to bring, settle, release, compromise, or enforce such Retained Actions (or decline to do any of
the foregoing), without further approval of the Bankruptcy Court. Debtor (or any successors, in
the exercise of their sole discretion), may pursue such Retained Actions so long as it is the best
interests of Debtor (or any successors holding such rights of action. The failure of Debtor to
specifically list any claim, right of action, suit, proceeding or other Retained Action in this Plan
does not, and will not be deemed to, constitute a waiver or release by Debtor of such claim, right
of action, suit, proceeding or other Retained Action, and Debtor will retain the right to pursue
such claims, rights of action, suits, proceedings and other Retained Actions in their sole
discretion and, therefore, no preclusion doctrine, collateral estoppel, issue preclusion, claim
preclusion, estoppel (judicial, equitable or otherwise) or laches will apply to such claim, right of
action, suit, proceeding or other Retained Actions upon or after the confirmation or
consummation of this Plan. Debtor reserve all causes of actions for breach of any former or now
existing agreement or otherwise.

        6.4      Effectuating Documents, Further Transactions. Debtor is authorized to execute,
deliver, file, or record such contracts, instruments, releases, indentures, and other agreements or
documents, and take such action as may be necessary, desirable or appropriate to effectuate and
further evidence the terms and conditions of this Plan or to otherwise comply with applicable
law.

        6.5    Exemption from Certain Transfer Taxes and Recording Fees. Pursuant to section
1146(c) of the Bankruptcy Code, any transfers from Debtor to any other Person or entity
pursuant to or in contemplation of this Plan, or any agreement regarding the transfer of title to or
ownership of any of the Debtor’s real or personal property will not be subject to any document
recording tax, stamp tax, conveyance fee, sales tax, intangibles or similar tax, mortgage tax,
stamp act, real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or
recording fee, or other similar tax or governmental assessment, and the Confirmation Order will
direct the appropriate state or local governmental officials or agents to forego the collection of
any such tax or governmental assessment and to accept for filing and recordation any of the
foregoing instruments or other documents without the payment of any such tax or governmental
assessment.

        6.6    Further Authorization. Debtor shall be entitled to seek such orders, judgments,
injunctions and rulings as it deems necessary or desirable to carry out the intentions and
purposes, and to give full effect to the provisions, of this Plan.

        6.7    Liabilities of the Debtor.     Debtor will not have any liabilities except those
expressly assumed under the Plan. Debtor will be responsible for all expenses incurred by
Debtor in the ordinary course of business after the Filing Date, and those expenses will be paid in
the ordinary course of business as they become due or as agreed upon by holders of the expense
claim.

                                            Article 7
                                          Distributions

        7.1      Disbursing Agent. Unless otherwise provided for herein, all Distributions under
this Plan shall be made by the Debtor or its agent.

       7.2      Distributions of Cash. Any Distribution of Cash made by Debtor pursuant to this
Plan shall, at Debtor’s option, be made by check drawn on a domestic bank or by wire transfer

                                                30
Case 18-68479-pmb        Doc 48    Filed 05/07/19 Entered 05/07/19 13:50:56            Desc Main
                                  Document     Page 12 of 19
from a domestic bank.

        7.3      No Interest on Claims or Interests. Unless otherwise specifically provided for in
this Plan, the Confirmation Order, or a postpetition agreement in writing between the Debtor and
a Holder, postpetition interest shall not accrue or be paid on Claims, and no Holder shall be
entitled to interest accruing on or after the Filing Date on any Claim. Additionally, and without
limiting the foregoing, interest shall not accrue or be paid on any Disputed Claim in respect of
the period from the Effective Date to the date a Final Distribution is made when and if such
Disputed Claim becomes an Allowed Claim.

        7.4     Delivery of Distributions. The Distribution to a Holder of an Allowed Claim shall
be made by Debtor (a) at the address set forth on the proof of claim filed by such Holder, (b) at
the address set forth in any written notices of address change delivered to Debtor after the date of
any related proof of claim, (c) at the addresses reflected in the Schedules if no proof of claim has
been filed and Debtor have not received a written notice of a change of address, or (d) if the
Holder’s address is not listed in the Schedules, at the last known address of such Holder
according to the Debtor’s books and records.          If any Holder’s Distribution is returned as
undeliverable, no further Distributions to such Holder shall be made unless and until Debtor is
notified of such Holder’s then-current address, at which time all missed Distributions shall be
made to such Holder without interest. Amounts in respect of undeliverable Distributions made
in Cash shall be retained by Debtor until such Distributions are claimed. All Cash Distributions
returned to Debtor and not claimed within six (6) months of return shall be irrevocably retained
by Debtor notwithstanding any federal or state escheat laws to the contrary.

        7.5     Distributions to Holders as of the Record Date. All Distributions on Allowed
Claims shall be made to the Record Holders of such Claims. As of the close of business on the
Record Date, the Claims register maintained by the Bankruptcy Court shall be closed, and there
shall be no further change in the Record Holder of any Claim. Debtor shall have no obligation to
recognize any transfer of any Claim occurring after the Record Date. Debtor shall instead be
entitled to recognize and deal for all purposes under this Plan with the Record Holders as of the
Record Date.

        7.6      Fractional Dollars. Any other provision of this Plan notwithstanding, the Debtor
shall not be required to make Distributions or payments of fractions of dollars. Whenever any
payment of a fraction of a dollar under this Plan would otherwise be called for, the actual
payment shall reflect a rounding of such fraction to the nearest whole dollar (up or down), with
half dollars or less being rounded down.

      7.7 Withholding Taxes. Debtor or Reorganized Debtor, as the case may be, shall
comply with all withholding and reporting requirements imposed by any federal, state, local, or
foreign taxing authority, and all Distributions under this Plan shall be subject to any such
withholding and reporting requirements.

                                          Article 8
                   Procedures for Treating and Resolving Disputed Claims

        8.1      Objections to Claims. Debtor shall be entitled to object to Claims, provided,
however, that Debtor shall not be entitled to object to Claims (i) that have been Allowed by a
Final Order entered by the Bankruptcy Court prior to the Effective Date, or (ii) that are Allowed
by the express terms of this Plan.

                                                30
Case 18-68479-pmb        Doc 48   Filed 05/07/19 Entered 05/07/19 13:50:56 Desc Main
                                Document        Page 13 of 19
        8.2     No Distributions Pending Allowance. Except as otherwise provided herein, no
Distributions will be made with respect to any portion of a Claim unless and until (i) no
objection to such Claim has been filed, or (ii) any objection to such Claim has been settled,
withdrawn or overruled pursuant to a Final Order of the Bankruptcy Court.

       8.3.   Resolution of Claims Objections. On and after the Effective Date, Debtor shall
have the authority to compromise, settle, otherwise resolve, or withdraw any objections to
Claims without approval of the Bankruptcy Court.



                                        Article 9
          Provision for Assumption of Unexpired Leases and Executory Contracts

       9.1 Provisions Regarding Executory Contracts

        Any unexpired leases or executory contracts which are not assumed or the subject of a
pending motion to assume or reject shall be deemed rejected pursuant to Section 365 of the
Bankruptcy Code on the Effective Date. A proof of claim for damages arising from such
rejection must be filed in compliance with the Bankruptcy Rules on or before sixty (60) days
after mailing of notice of the Confirmation Order. Any claims which are not timely filed will be
disallowed and discharged.

                                            Article 10
                             Effect of Plan on Claims and Interests

        10.1 Vesting of Debtor’s Assets Except as otherwise explicitly provided in the Plan,
on the Effective Date, all property comprising the Estate (including Retained Actions, but
excluding property that has been abandoned pursuant to an order of the Bankruptcy Court) shall
revert in Debtor free and clear of all Claims, Liens, charges, encumbrances, rights and Interests
of creditors and equity security holders, except as specifically provided in the Plan. As of the
Effective Date, Debtor may use, acquire, and dispose of property and settle and compromise
Claims or Interests without supervision of the Bankruptcy Court, free of any restrictions of the
Bankruptcy Code or Bankruptcy Rules, other than those restrictions expressly imposed by the
Plan and Confirmation Order.

        10.2. Discharge of the Debtor. Pursuant to section 1141(d) of the Bankruptcy Code,
except as otherwise specifically provided in this Plan or in the Confirmation Order, the
Distributions and rights that are provided in this Plan shall be in complete satisfaction, discharge,
and release of all Claims, whether known on unknown, against, liabilities of, Liens on,
obligations of, rights against, Debtor or his Estate that arose prior to the Effective Date.
However, pursuant to section 1141(d)(5) of the Bankruptcy Code, except in limited
circumstances, a discharge is not available to an individual debtor unless and until all payments
have been made under the plan. Therefore, Debtor does not have a right to a discharge until all
the plan payments have been made unless otherwise ordered by the Court pursuant to section
1141(d)(5) of the Bankruptcy Code. Debtor is not waiving his right to seek entry of a discharge
order before completion of all plan payments. In the event Debtor seeks entry of a discharge
order after the entry of a final decree, Debtor may reopen the Case for purposes of obtaining a
discharge. Additionally, the Plan shall not be construed as attempting to discharge any debt that
is excepted from discharge pursuant to Bankruptcy Code sections 1141(d)(2) and 523(a)(1).

                                                30
Case 18-68479-pmb        Doc 48    Filed 05/07/19 Entered 05/07/19 13:50:56             Desc Main
                                  Document     Page 14 of 19

        10.3 Release by Debtor of Certain Parties. Except as otherwise specifically provided in
the Plan, pursuant to section 1123(b)(3) of the Bankruptcy Code, as of the Effective Date,
Debtor, as a debtor in possession for and on behalf of its Estate, shall release and discharge and
be deemed to have conclusively, absolutely, unconditionally, irrevocably and forever released
and discharged all officers, directors, employees, consultants, agents, financial advisors, attorneys
and other representatives of Debtor who served in such capacity on or subsequent to the Filing
Date, in their capacity as such for and from any and all claims or Causes of Action existing as of
the Effective Date in any manner arising from, based on or relating to, in whole or in part,
Debtor, the subject matter of, or the transactions or events giving rise to, any Claim that is
treated in the Plan, the business or contractual arrangements between Debtor and any such party,
the restructuring of Claims prior to or in the bankruptcy case, or any act, omission, occurrence, or
event in any manner related to any such Claims or, restructuring or the bankruptcy cases. All
representatives of the Estate shall be bound, to the same extent Debtor is bound, by all of the
releases set forth in this paragraph.

        10.4    Release by Holders of Claims and Interests. Except as otherwise specifically
provided in this Plan, on the Effective Date, (a) each Person that votes to accept this Plan
or is presumed to have voted for this Plan pursuant to Section 1126(f) of the Bankruptcy
Code; and (b) to the fullest extent permissible under applicable law, as such law may be
extended or interpreted subsequent to the Effective Date, each entity (other than a debtor),
that has, held, holds, or may hold a Claim or Interest (Each, a “Release Obligor”), in
consideration for the obligations of the Debtor and the Reorganized Debtor under this Plan
and the Cash, Contracts, Instruments, Releases, Agreements or Documents to be delivered
in connection with this Plan, shall have conclusively, absolutely, unconditionally,
irrevocably, and forever released and discharged each Released Party from any Claim or
Cause of Action existing as of the Effective Date arising from, based on, or relating to, in
whole or in part, the subject matter of, or the transaction or event giving rise to, the Claim
of such Release Obligor, and any act, omission, occurrence, or event in any manner related
to such subject matter, transaction, or obligation; provided however, that this article 10.4
shall not release any released party from any cause of action held by a governmental entity
existing as of the Effective Date, based on (i) the Internal Revenue Code or other domestic
state, city or municipal tax code, (ii) the environmental laws of the United States or any
domestic state, city or municipality, (iii) any criminal laws of the United States or any
domestic state, city or municipality, (iv) the Securities Exchange Act of 1934, as amended,
the Securities Act, or other securities laws of the United States or any domestic state, city or
municipality, or (v) Sections 1104-1109 and 1342(d) of the Employee Retirement Income
Security Act of 1974, as amended and provided.

        10.5 Injunction.       Upon entry of a Confirmation Order in this case, the Confirmation
Order shall act as a permanent injunction against any Person commencing or continuing any
action, employment of process, or act to collect, offset, or recover any Claim provided for under
this Plan against Debtor or Reorganized Debtor or against any property of Debtor or Reorganized
Debtor or any property otherwise pledged as collateral against such Claim provided for under
this Plan, except as provided for in this Plan.

        10.6 Setoffs.          Debtor may, but shall not be required to, set off against any Claim,
and the payments or other Distributions to be made pursuant to the Plan in respect of such Claim,
claims of any nature whatsoever that Debtor may have against such Holder of a Claim, but
neither the failure to do so nor the allowance of any Claim hereunder shall constitute a waiver or
release by Debtor of any such claim that Debtor may have against such Holder of a Claim.
                                                30
Case 18-68479-pmb        Doc 48    Filed 05/07/19 Entered 05/07/19 13:50:56            Desc Main
                                  Document     Page 15 of 19

       10.7    Effect of Confirmation.

               10.7.1 Binding Effect. On the Confirmation Date, the provisions of this Plan shall
be binding on Debtor, the Estate, all Holders of Claims against or Interests in Debtor, and all
other parties-in-interest whether or not such Holders are Impaired and whether or not such
Holders have accepted this Plan.

                10.7.2 Effect of Confirmation on Automatic Stay. Except as provided otherwise
in this Plan, from and after the Effective Date, the automatic stay provided in § 362(a) of the
Bankruptcy Code shall terminate.

               10.7.3 Filing of Reports. Reorganized Debtor shall file all reports and pay all fees
required by the Bankruptcy Code, Bankruptcy Rules, U.S. Trustee guidelines, and the rules and
orders of the Bankruptcy Court.

               10.7.4 Post-Effective Date Retention of Professionals. Upon the Effective Date,
any requirement that professionals comply with §§ 327 through 331 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date will terminate, and the
Reorganized Debtor will employ and pay professionals in the ordinary course of business.

                                          Article 11
                                     Conditions Precedent

       11.1     Conditions to Confirmation.         The following are conditions precedent to
confirmation of this Plan that may be satisfied or waived in accordance with Article 11.3 of this
Plan.

               11.1.1 The Bankruptcy Court shall have approved the Disclosure Statement with
respect to this Plan in form and substance that is acceptable to the Debtor in their sole and
absolute discretion; and

              11.1.2 The Confirmation Order shall have been signed by the Bankruptcy Court
and entered on the docket of the Bankruptcy Cases.

        11.2 Conditions to the Effective Date. The following are conditions precedent to the
occurrence of the Effective Date, each of which may be satisfied or waived in accordance with
Article 11.3 of this Plan.

                11.2.1 The Confirmation Order shall not have been vacated, reversed or modified
and, as of the Effective Date, shall not be stayed;

                11.2.2 All documents and agreements to be executed on the Effective Date or
otherwise necessary to implement this Plan (including documents relating to the Exit Financing)
shall be in form and substance that is acceptable to Debtor in their reasonable discretion;

                11.2.3 Debtor shall have received any authorization, consent, regulatory
approval, ruling, letter, opinion, or document that may be necessary to implement this Plan and
that is required by law, regulation, or order.

       11.3    Waiver of Conditions to Confirmation or Consummation. The conditions set
                                           30
Case 18-68479-pmb        Doc 48      Filed 05/07/19 Entered 05/07/19 13:50:56 Desc Main
                                   Document        Page 16 of 19
forth in Article 11.1 and Article 11.2 of this Plan may be waived, in whole or in part, by Debtor
without any notice to any other parties in interest or the Bankruptcy Court and without a hearing.
The failure to satisfy or waive any condition to the Confirmation Date or the Effective Date may
be asserted by Debtor in their sole discretion regardless of the circumstances giving rise to the
failure of such condition to be satisfied (including any action or inaction by Debtor). The failure
of Debtor to exercise any of the foregoing rights shall not be deemed a waiver of any other
rights, and each such right shall be deemed an ongoing right, which may be asserted at any time.


                                         Article 12
                Retention and Scope of Jurisdiction of the Bankruptcy Court

        12.1 Retention of Jurisdiction. Subsequent to the Effective Date, the Bankruptcy Court
shall have or retain jurisdiction for the following purposes:

                12.1.1 To adjudicate objections concerning the allowance, priority or
classification of Claims and any subordination thereof, and to establish a date or dates by which
objections to Claims must be filed to the extent not established herein;

                12.1.2 To liquidate the amount of any disputed, contingent or unliquidated Claim,
to estimate the amount of any disputed, contingent or unliquidated Claim, to establish the amount
of any reserve required to be withheld from any distribution under this Plan on account of any
disputed, contingent or unliquidated Claim;

              12.1.3 To resolve all matters related to the rejection, and assumption and/or
assignment of any Executory Contract or Unexpired Lease of Debtor;

              12.1.4 To hear and rule upon all Retained Actions, Avoidance Actions and other
Causes of Action commenced and/or pursued by Debtor;

               12.1.5 To hear and rule upon all applications for Professional Compensation;

              12.1.6 To remedy any defect or omission or reconcile any inconsistency in this
Plan, as may be necessary to carry out the intent and purpose of this Plan;

               12.1.7 To construe or interpret any provisions in this Plan and to issue such
orders as may be necessary for the implementation, execution and consummation of this Plan, to
the extent authorized by the Bankruptcy Court;

              12.1.8 To adjudicate controversies arising out of the administration of the Estates
or the implementation of this Plan;

                12.1.9 To make such determinations and enter such orders as may be necessary to
effectuate all the terms and conditions of this Plan, including the Distribution of funds from the
Estate and the payment of claims;

              12.1.10 To determine any suit or proceeding brought by Debtor to recover
property under any provisions of the Bankruptcy Code;

               12.1.11    To hear and determine any tax disputes concerning Debtor and to
                                               30
Case 18-68479-pmb        Doc 48    Filed 05/07/19 Entered 05/07/19 13:50:56              Desc Main
                                 Document        Page 17 of 19
determine and declare any tax effects under this Plan;

              12.1.12 To determine such other matters as may be provided for in this Plan or
the Confirmation Order or as may be authorized by or under the provisions of the Bankruptcy
Code;

               12.1.13 To determine any controversies, actions or disputes that may arise under
the provisions of this Plan, or the rights, duties or obligations of any Person under the provisions
of this Plan;

              12.1.14 To adjudicate any suit, action or proceeding seeking to enforce any
provision of, or based on any matter arising out of, or in connection with, any agreement
pursuant to which Debtor sold any of their assets during the Bankruptcy Case; and

               12.1.15 To enter a final decree.

        12.2 Alternative Jurisdiction. In the event that the Bankruptcy Court is found to lack
jurisdiction to resolve any matter, then the District Court shall hear and determine such matter.
If the District Court does not have jurisdiction, then the matter may be brought before any court
having jurisdiction with regard thereto.

        12.3 Final Decree. The Bankruptcy Court may, upon application of the Debtor, at any
time after “substantial consummation” of the Plan as defined in §1101(2) of the Bankruptcy
Code, enter a final decree in the case, notwithstanding the fact that additional funds may
eventually be distributed to parties in interest. In such event, the Bankruptcy Court may enter an
Order closing these cases pursuant to section 350 of the Bankruptcy Code, provided, however,
that: (a) the Debtor shall continue to have the rights, powers, and duties set forth in this Plan; (b)
any provision of this Plan requiring the absence of an objection shall no longer be required,
except as otherwise ordered by the Bankruptcy Court; and (c) the Bankruptcy Court may from
time to time reopen the Bankruptcy Case if appropriate for any of the following purposes: (1)
administering Assets; (2) entertaining any adversary proceedings, contested matters or
applications the Debtor has brought or bring with regard to the liquidation of Assets and the
prosecution of Causes of Action; (3) enforcing or interpreting this Plan or supervising its
implementation; or (4) for other cause. Debtor shall be authorized to reopen the Bankruptcy Case
for purposes of obtaining a discharge after entry of the final decree and the fee associated with
the attendant motion to reopen Debtor’s case shall be waived, and Debtor shall not be
responsible for payment of such to the Clerk of Court for the Bankruptcy Court of the Northern
District of Georgia.

                                           Article 13
                                    Miscellaneous Provisions

        13.1 Modification of the Plan. Debtor shall be allowed to modify this Plan pursuant to
section 1127 of the Bankruptcy Code to the extent applicable law permits. Subject to the
limitations contained in this Plan, pursuant to Article 13.1 of this Plan, Debtor may modify this
Plan, before or after confirmation, without notice or hearing, or after such notice and hearing as
the Bankruptcy Court deems appropriate, if the Bankruptcy Court finds that the modification
does not materially and adversely affect the rights of any parties in interest which have not had
notice and an opportunity to be heard with regard thereto. In the event of any modification on or
before confirmation, any votes to accept or reject this Plan shall be deemed to be votes to accept
or reject this Plan as modified, unless the Bankruptcy Court finds that the modification
                                                30
Case 18-68479-pmb       Doc 48     Filed 05/07/19 Entered 05/07/19 13:50:56 Desc Main
                                 Document       Page 18 of 19
materially and adversely affects the rights of parties in interest which have cast said votes.
Debtor reserve the right in accordance with section 1127 of the Bankruptcy Code to modify this
Plan at any time before the Confirmation Date.

        13.2 Allocation of Plan Distributions Between Principal and Interest. To the extent
that any Allowed Claim entitled to a Distribution under this Plan is composed of indebtedness
and accrued but unpaid interest thereon, such distribution shall, to the extent permitted by
applicable law, be allocated for United States federal income tax purposes to the principal
amount of the Claim first and then, to the extent the consideration exceeds the principal amount
of the Claim, to the portion of the Claim representing accrued but unpaid interest.

       13.3 Applicable Law. Except to the extent that the Bankruptcy Code or the
Bankruptcy Rules are applicable, the rights and obligations arising under this Plan shall be
governed by the laws of the State of Georgia.

        13.4 Preparation of Estate Returns and Resolution of Tax Claims. Debtor shall file all
tax returns and other filings with governmental authorities and may file determination requests
under section 505(b) of the Bankruptcy Code to resolve any Disputed Claim relating to taxes
with a governmental authority.

       13.5 Headings. The headings of the Articles and the sections of this Plan have been
used for convenience only and shall not limit or otherwise affect the meaning thereof.

        13.6 Revocation of Plan. Debtor reserves the right, unilaterally and unconditionally, to
revoke and/or withdraw this Plan at any time prior to entry of the Confirmation Order, and upon
such revocation and/or withdrawal this Plan shall be deemed null and void and of no force and
effect.

        13.7     No Admissions; Objection to Claims. Nothing in this Plan shall be deemed to
constitute an admission that any individual, corporation, partnership, trust, venture,
governmental unit, or any other form of legal entity as being the Holder of a Claim is the Holder
of an Allowed Claim, except as expressly provided in this Plan. The failure of Debtor to object
to or examine any Claim for purposes of voting shall not be deemed a waiver of Debtor’s rights
to object to or reexamine such Claim in whole or in part.

        13.8 No Bar to Suits. Except as otherwise provided in Article 10 of this Plan, neither
this Plan or confirmation hereof shall operate to bar or estop Debtor from commencing any
Cause of Action, or any other legal action against any Holder of a Claim or any individual,
corporation, partnership, trust, venture, governmental unit, or any other form of legal entity,
whether such Cause of Action, or any other legal action arose prior to or after the Confirmation
Date and whether or not the existence of such Cause of Action, or any other legal action was
disclosed in any disclosure statement filed by Debtor in connection with this Plan or whether or
not any payment was made or is made on account of any Claim. Without limitation, Debtor
retain and reserve the right to prosecute Retained Actions.

        13.9 Conflicts. In the event that provisions of the Disclosure Statement and provisions
of this Plan conflict, the terms of this Plan shall govern.




                                              30
Case 18-68479-pmb        Doc 48    Filed 05/07/19 Entered 05/07/19 13:50:56            Desc Main
                                  Document      Page 19 of 19
                                           Article 14
                                       Tax Consequences

           Tax consequences resulting from confirmation of this Plan can vary greatly among the
various Classes of Creditors and Holders of Interests, or within each Class. Significant tax
consequences may occur as a result of confirmation of the Plan under the Internal Revenue Code
and pursuant to state, local, and foreign tax statutes. Because of the various tax issues involved,
the differences in the nature of the Claims of various Creditors, the taxpayer status and methods
of accounting and prior actions taken by Creditors with respect to their Claims, as well as the
possibility that events subsequent to the date hereof could change the tax consequences, no
specific tax consequences to any Creditor or Holders of an Interest are represented, implied, or
warranted. The proponent assumes no responsibility for the tax effect that consummation of this
Plan will have on any given Holder of a Claim or Interest. Holders of Claims or Interest are
strongly urged to consult their own tax advisors covering the federal, state, local and foreign tax
consequences of the Plan to their individual situation.

       Respectfully submitted, this 3rd day of May, 2019


                                                  Respectfully Submitted,
                                                  SLIPAKOFF AND SLOMKA, PC
                                                  Attorney for Debtor

                                                  By: /s/ Howard P. Slomka, Esquire
                                                  Georgia Bar #652875
                                                  2859 Paces Ferry Rd. SE.
                                                  Suite 1700
                                                  Atlanta, Georgia 30339
                                                  Attorney for Debtor




                                               30
